     Case:18-20886-MJK Doc#:47 Filed:08/22/19 Entered:08/22/19 16:23:00                                 Page:1 of 1


      IT IS ORDERED as set forth below:




      Date: August 22, 2019

 _______________________________________________________________________




                         UNITED STATES BANKRUPTCY COURT
                                           Southern District of Georgia

In re:                                                                           Case No.: 18−20886−MJK
Chase Hunter Wade
       Debtor                                                                    Judge: Michele J. Kim
                                                                                 Chapter: 7

                            ORDER APPOINTING REAL ESTATE BROKER


    The Application of the Trustee for appointment of BK Global Real Estate Services as Real Estate Broker for the
Estate having been considered and it appearing to the Court that the employment of BK Global Real Estate Services
is necessary and beneficial to this estate,

  It further appearing that the real estate broker has no adverse interest to those of this estate, and that the
employment is proper,

    IT IS THEREFORE ORDERED that the trustee is authorized to employ the services of BK Global Real Estate
Services as real estate broker for the estate subject to objection by any party in interest within twenty−one (21) days
of the date hereof. The compensation of such real estate broker will be later fixed and determined by the Court in
such manner as the Court may from time to time direct after notice to creditors.
                                                  [END OF DOCUMENT]

B−04e [07−14]
